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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA

                                       CRIMINAL MINUTES - GENERAL




 Case No.       LA CR18-00876 JAK                                                  Date     September 28, 2023


 Present: The Honorable      John A. Kronstadt, United States District Judge

 Interpreter

        T. Jackson-Terrell                     Marea Woolrich                           J. Jamari Buxton
           Deputy Clerk                 Court Reporter/Recorder                   Assistant U.S. Attorney


         U.S.A. v. Defendant(s):        Present Cust. Bond           Attorneys for Defendants: Present App. Ret.

Anderson Sam Bonilla Echegoyen                 X             X      Kate Morris, DFPD              X       X


 Proceedings:       PETITION ON PROBATION AND SUPERVISED RELEASE (DKT. 126)

The hearing is held. Helen Zaytseva, U.S. Probation Officer, is also present. The Court confers with counsel,
Officer Zaytseva and Defendant regarding the allegations and statements in the Petition on Probation and
Supervised Release filed on May 5, 2023 (the “Petition” (Dkt. 126). After being sworn and advised of his rights
not to respond to questions, and to a hearing as to whether he committed any of the alleged violations,
Defendant waives those rights, and admits to the matters stated in Allegations 1-4 of the Petition. Defendant’s
counsel joins in the waivers and stipulates that there is a factual basis for the matter admitted. The Court
accepts the admissions as knowingly, voluntarily, and intelligently made and supported by a sufficient factual
basis.

At the request of Defendant’s counsel, and without objection by the Government, the Court proceeds to
immediate sentencing.

The Defendant is found in violation of his supervised release. The Court orders that the term of supervised
release is revoked, vacated and set aside. Anderson Sam Bonilla Echegoyen is hereby committed to the
custody of the Bureau of Prisons to be imprisoned for a term of FIVE (5) MONTHS, with no supervision to
follow.

The Court recommends that the Bureau of Prison shall make good faith effort to communicate with counsel for
Defendant as well as counsel for the Government in this matter, to facilitate proper medical treatment for
Defendant while he is in custody, which includes appropriate medications and other treatment for his medical
condition.

Defendant is advised of his right of appeal.

IT IS SO ORDERED.



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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                 CRIMINAL MINUTES - GENERAL




                                                                                    :   19

                                                          Initials of Deputy   TJ
                                                                       Clerk
cc: USPO; USM; BOP




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